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VIA ECF AND EMAIL                                                                 March 11, 2022

Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007
              Re: Bilalov v. Gref et al., 1:20-cv-09153-AT-JW (S.D.N.Y.)

Dear Judge Torres:

        We write on behalf of Defendants Sberbank of Russia and Herman Gref (together, the
“Russian Defendants”) regarding what Plaintiff styles as his Ex Parte Emergency Motion For An
Asset Freeze and Other Relief (ECF Nos. 81-84) (the “Motion”).1 We wish to advise the Court
that the Russian Defendants “intend to oppose entry of the TRO” before the Court-ordered
deadline of March 14, 2022. See Order (ECF No. 85).

        Counsel for the Russian Defendants have been authorized to inform the Court that they
intend to withdraw from this representation and are working with the Russian Defendants to
identify substitute counsel. Debevoise does not anticipate—and in all events will work to
mitigate—any delay or prejudice to any party resulting from the engagement of new counsel,
including because, aside from this Motion, the pending motions to dismiss are fully briefed.

                                                   Respectfully submitted,

                                                   DEBEVOISE & PLIMPTON LLP

                                                   By: /s/ William H. Taft V                 .
                                                      Mark P. Goodman
                                                      William H. Taft V
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                                                      Counsel for Sberbank of Russia and Herman
                                                      Gref

cc: All counsel of record (via ECF)
1
  The Russian Defendants expressly preserve all rights, privileges, defenses and immunities,
including the defenses of foreign sovereign immunity and lack of subject-matter and personal
jurisdiction under the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1330, 1602–1611.
